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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION AT DAYTON

 UNITED STATES OF AMERICA                       :   CASE NO. 3:18-CR-158

                Plaintiff,                      : (Judge Walter H. Rice)


                                                    DEFENDANT'S MOTION FOR MENTAL
 NASER ALMADAOJI                                :   HEALTH EVALUATION

                Defendant.                      :



        Now comes the Defendant, Naser Almadaoji, by and through counsel, and hereby moves

the Court for approval ofa mental health evaluation for the purposes ofensuring that the sentence

imposed in this matter adequately reflects a full understanding of the history and personal

characteristics of Mr. Almadaoji, as well to assist the Court in assessing the need for effective

mental health, vocational, or other correctional treatment as part of the sentence in this case. See,

18 U.S.C. §3553(a)(1) and (b)(2)(D).

        The Criminal Justice Act Plan for the Southern District of Ohio ("CJA Plan") provides

that:


        "[t]he primary objective ofthis Plan is to attain the ideal ofequality before the law
        for all persons. Therefore, this Plan shall be administered so that those accused of
        crime, or otherwise eligible for services under the CJA, will not be deprived,
        because they are financially unable to pay for adequate representation, of any
        element ofrepresentation necessary to an adequate defense."

CJA Plan, Section 11(A)(1).
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       In the course of discussions with the Defendant, various conversations with members of

his family, and participation in the Probation Office interview of Mr. Almadaoji,counsel believes

that in this case,the Court would be well served and would benefit from a fuller understanding of

the mental health ofthe Defendant. Counsel's investigation has shown that Mr. Almadaoji likely

suffers from mental health or neurological conditions that impacted his decision to commit the

instant offense.


        Mr. Almadaoji has frequently expressed a desire for mental health counseling and

treatment, which is not readily available to him in the Butler Countyjail facility. He also expresses

significant guilt and stress over choices he made in 2018 and the impacts they have had on his

family members. Mr. Almadaoji is now 22 years ofage. Counsel believes that an in depth mental

status evaluation will provide valuable insight into Mr. Almadaoji's behaviors, his family and

mental health history, his potential for effective rehabilitation, and will further assist this Court in

fashioning the least severe sentence necessary to accomplish the statutory purposes of sentencing.

       The CJA Plan permits the expenditure of up to $2,500.00 for investigative and expert

services, with District Court pre-approval. See, CJA Panel Attorney Quick Reference Guide,

http://www.ohsd.uscourts.gOv/sites/ohsd/files/203.30.2018.pdf. Counsel has conferred with Dr.

Scott Bresler, a forensic psychologist, who has indicated a willingness to perform this evaluation.

Dr. Bresler is currently the Clinical Director of the University of Cincinnati Medical Center

Division of Forensic Psychology. Dr. Bresler's hourly billing rate is $275, billed in quarter-hour

increments. His curriculum vitae is attached hereto as Exhibit A.

        Counsel has conferred with Dr. Bresler in an effort to obtain an estimate ofthe total cost

ofhis services and the timeline that he believes will be necessary to conduct an effective evaluation

ofthe Defendant as well as preparing for testimony at sentencing. Dr. Bresler has estimated that
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in order to review a limited set of discovery materials, conduct in-person meetings/evaluations of

the Defendant, prepare a report if directed, and testify if requested, it will likely require up to 15-

20 hours of his time. Thus,the total budget requested from the Court is $5,500.00.

       On these grounds, the Defendant requests that the Court approve the appointment of Dr.

Bresler and the payment of costs in excess of the ordinary cap for his services. Should the Court

require that a budget be submitted for review by the CJA Budgeting Attorney, the undersigned

will consult with the budgeting attorney and submit a proposed budget forthwith.

       Finally, should the Court grant this Motion, the Defendant would further request

permission from the Court to share the Initial and Final Presentence Investigation Reports with Dr.

Bresler.


                                       Respectfully submitted,


                                       /s/ James P. Fleisher
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                                       Attorneyfor Defendant, Noser Almadaoji
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                                 CERTIFICATE OF SERVICE


         I hereby certify that on the 1 st day ofDecember,2021,1 filed the foregoing document with

the Clerk of Courts, United States District Court, Southern District of Ohio, by way ofthe Court's

CM/ECF system.



                                      /s/ James P. Fleisher
                                      JAMES P. FLEISHER

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